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7                         UNITED STATES DISTRICT COURT

8                       EASTERN DISTRICT OF CALIFORNIA

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10   UNITED STATES OF AMERICA,             No.   2:16-cr-00198-JAM-1
                                           No.   2:16-cr-00199-JAM-1
11                 Plaintiff,
12        v.                               ORDER DENYING DEFENDANT’S MOTION
                                           TO REDUCE SENTENCE
13   KIONI M. DOGAN,
14                 Defendant.
15

16       Kioni Dogan, a prisoner serving her sentence at Federal

17   Correctional Institution, Phoenix (FCI Phoenix), filed an

18   emergency motion for compassionate release under 18 U.S.C.

19   § 3582(c)(1)(A).    Mot. to Reduce Sent. (“Mot.”), ECF No. 107.

20   Dogan argues her medical conditions, her children’s need for her

21   as a caregiver in light of the Coronavirus Disease (COVID-19)

22   pandemic, and the 18 U.S.C. § 3553(a) sentencing factors warrant

23   a reduction in her sentence to time served.         Mot. at 12–21.

24   Alternatively, Dogan requests the Court allow her to serve the

25   remainder of her sentence in home confinement.         Mot. at 24.   The

26   Government opposes Dogan’s request, ECF No. 113; Dogan filed a

27   reply, ECF No. 117.    Having carefully considered the parties’

28   arguments, the Court denies Dogan’s motion.
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1                               I.    BACKGROUND

2         On March 5, 2019, Dogan pled guilty to a single count of

3    conspiracy to submit false claims, in violation of 18 U.S.C.

4    § 286, and a single count of conspiracy to commit mail fraud, in

5    violation of 18 U.S.C. § 1349.      See Plea Agreement, ECF No. 82.

6    After calculating Dogan’s advisory guideline range and

7    considering the United States Probation Officer’s Presentence

8    Investigation Report (“PSR”), the Court imposed a below-guideline

9    sentence: 48 months imprisonment followed by 36 months of

10   supervised release.    See November 19, 2019 Mins., ECF No. 104.

11   Dogan’s expected release date is June 3, 2023.         See Kioni M.

12   Dogan, BOP Inmate Data, Ex. 1 to Opp’n, ECF No. 113-1.

13        Over the past five months, COVID-19 has found its way into

14   and throughout the federal prisons.       As of July 7, 2020, over

15   7,000 federal inmates across the country have tested positively

16   for COVID-19; 94 have died.      See COVID-19 Coronavirus, FEDERAL

17   BUREAU OF PRISONS, http://www.bop.gov/coronavirus (last accessed

18   July 7, 2020).   CDC research reveals that individuals with

19   serious heart conditions, such as cardiomyopathy, and

20   hypertension are among those at a high risk for contracting
21   COVID-19 and suffering complications.         See Coronavirus Disease

22   2019 (COVID-19), CENTER FOR DISEASE CONTROL,

23   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

24   precautions/groups-at-higher-risk.html (last accessed July 7,

25   2020).   Dogan contends that she suffers from both of these health

26   conditions.   Mot. at 4–6 (citing Heart Center of Nevada Medical
27   Records, Ex. C to Mot. at 18, ECF No. 110-1).

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1                                II.   OPINION

2        A.    Legal Standard

3        Generally, a court may “not modify a term of imprisonment

4    once it has been imposed.”      18 U.S.C. § 3582(c); Dillon v.

5    United States, 560 U.S. 817, 824-25 (2010).         However, the First

6    Step Act (FSA) amended 18 U.S.C. § 3582 to grant federal courts

7    sentence-modification authority in specific circumstances.          18

8    U.S.C. § 3582(c)(1)(A).     A district court may modify the term of

9    imprisonment if (1) the modification would not undermine the

10   sentencing factors set forth in Section 3553(a), and

11   (2) “extraordinary and compelling reasons warrant such a

12   reduction.”    18 U.S.C. § 3582(c)(1)(A)(i).      The Sentencing

13   Commission defines “extraordinary and compelling reasons” to

14   include reasons related to (a) the medical condition of the

15   defendant, (b) the age of the defendant, (c) certain family

16   circumstances, and (d) other specific reasons.         See U.S.S.G.

17   § 1B1.13, Application Note 1.      The defendant bears the initial

18   burden of putting forth evidence that establishes an entitlement

19   to a sentence reduction.     United States v. Sprague, 135 F.3d

20   1301, 1306–07 (9th Cir. 1998).
21       B.    Analysis

22             1.    Exhaustion Requirement

23       Section 3582(c) imposes an exhaustion requirement upon

24   federal inmates requesting compassionate release.          Before

25   requesting sentence modification from a court, a defendant must

26   submit a request for release with the BOP and, then, either: (1)
27   administratively appeal an adverse result or (2) wait for thirty

28   (30) days to pass.    Id.   Only then may a defendant, or the
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1    Director of the BOP, file a motion for modification.           18 U.S.C.

2    § 3582(c)(1)(A).

3           On April 21, 2020, Dogan submitted a request for

4    compassionate release to the FCI Phoenix warden.          Mot. at 12

5    (citing Inmate Request to Staff Member Response, Ex. B to Mot.,

6    ECF No. 107-2).        The warden denied Dogan’s request seven days

7    later.    Id.    After filing her April 21 request to the warden,

8    Dogan waited two months before filing this motion.            See ECF No.

9    107.     Dogan has exhausted her administrative remedies.

10               2.    Extraordinary and Compelling Circumstance

11          After a defendant has met the threshold exhaustion

12   requirement, she must demonstrate that “extraordinary and

13   compelling reasons warrant” a reduction.          18 U.S.C.

14   § 3582(c)(1)(A)(i).       The reduction must be “consistent with

15   applicable policy statements issued by the Sentencing

16   Commission.”     Id.     Congress has not defined what is

17   “extraordinary and compelling” other than that “[r]ehabilitation

18   of the defendant alone” is insufficient.          28 U.S.C. § 994(t).

19   Instead, it has delegated that responsibility to the Sentencing

20   Commission.      Id.    Before Congress passed the FSA, the Commission
21   concluded “extraordinary and compelling reasons” were limited to

22   four scenarios.        U.S.S.G. § 1B1.13.    These scenarios include:

23   (A) the medical condition of the defendant, (B) the age of the

24   defendant, (C) family circumstances, and (D) a catchall

25   provision for other reasons.        Id.

26          Dogan’s arguments seem to fit within some combination of
27   the first and last two scenarios.           She argues her heart disease

28   and hypertension put her at risk of serious illness or death if
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1    she contracts COVID-19.     Mot. at 16–10.      In addition, because of

2    the pandemic, Dogan’s children must remain home and have lost

3    access to their usual childcare.         Mot. at 20–21.    Dogan also

4    requests release in order to better support her children during

5    this period.     Id.

6        A defendant’s medical condition may constitute an

7    “extraordinary and compelling reason” if the defendant is

8    suffering from “a serious physical or medical condition,” “a

9    serious functional or cognitive impairment,” or is “experiencing

10   deteriorating physical or mental health because of the aging

11   process,” which “substantially diminishes the ability of the

12   defendant to provide self-care within the environment of a

13   correctional facility and from which he or she is not expected

14   to recover.” See U.S.S.G § 1B1.13(1)(A) & cmt. 1.           Dogan suffers

15   from two comorbidities: cardiomyopathy and hypertension.          Mot.

16   at 4–5.   She was diagnosed with both as recently as March 9,

17   2020, not long after she entered BOP custody.          See Southwest

18   Desert Cardiology Medical Records, Ex. C to Mot. at 12, 14, 17,

19   ECF No. 110-1.

20       FCI Phoenix is a medium security correctional institution
21   with an adjacent minimum security satellite camp and a detention

22   center.   Mot. at 6.   The same BOP staff serve both the

23   correctional institution and the camp.         Id.    Dogan is

24   incarcerated within the satellite camp.         Id.   As of July 16,

25   2020, the number of COVID-19 infections in FCI Phoenix is

26   relatively low: fourteen (14) inmates and nine (9) staff members
27   have tested positive.     See https://www.bop.gov/coronavirus/

28   (last accessed July 16, 2020).      There have been no deaths and
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1    one (1) inmate and five (5) staff members have recovered from

2    COVID-19.   Id.   However, Maricopa County, Arizona, where FCI

3    Phoenix is located, is reporting significant increases in COVID-

4    19 infections and deaths.     To date, infections are at 88,364 and

5    1,274 have died.    See Coronavirus Disease (COVID-19), MARICOPA

6    COUNTY, https://www.maricopa.gov/5460/Coronavirus-Disease-2019

7    (last accessed July 16, 2020).

8         Despite the rapid spread of COVID-19 in Maricopa County,

9    the likelihood of a larger outbreak within the facility is

10   speculative at this point.      At present, COVID-19 infections in

11   FCI Phoenix are under control.      And Dogan’s cardiomyopathy and

12   hypertension, standing alone, do not present an extraordinary or

13   compelling reason for modifying her sentence.         Both have

14   improved over time and are being monitored and treated.            See

15   Opp’n at 13–14.    Because the Court cannot make its decision

16   based on the mere possibility of a larger outbreak within the

17   facility, it does not find that Dogan’s medical conditions

18   provide extraordinary or compelling reasons for her release.

19        Neither do Dogan’s family circumstances.         The family

20   circumstances provision provides, in relevant part, that “the
21   death or incapacitation of the caregiver of the defendant’s

22   minor child” constitutes an extraordinary and compelling family

23   circumstance.     U.S.S.G. § 1B1.13.     Dogan does not meet these

24   criteria.   See Mot. at 19–21.     Her husband and two adult

25   children are taking care of her two youngest children.            Id.    And

26   the Court has no reason to believe any of them are presently
27   incapacitated.

28        Turning to the catchall provision, Subdivision (D) allows
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1    the Director of the BOP to determine that “there exists in the

2    defendant’s case an extraordinary and compelling reason other

3    than, or in combination with the reasons described in

4    subdivision (A) through (C).”      U.S.S.G. § 1B1.13(D).      In other

5    words, U.S.S.G. § 1B1.13(D) still assumes compassionate release

6    may only be granted “upon motion by the Director of the [BOP].”

7    U.S. v. Rodriguez, 424 F. Supp. 3d 674, -- (N.D. Cal. Nov. 25,

8    2019) (citation omitted).     This Court, however, follows a

9    growing list of district courts within this circuit and others,

10   that have concluded they also have discretion under Subdivision

11   (D).   See, e.g., U.S. v. Cantu, No. 1:05-CR-458-1, 2019 WL

12   2498923, at *5 (S.D. Tex. June 17,2019); Rodriguez, 424 F.Supp.

13   3d 674; U.S. v. Chan, 96-cr-00094, 2020 WL 12527895 (N.D. Cal.

14   March 31, 2020); U.S. v. Almontes, No. 3:05-cr-58, 2020 WL

15   1812713 (D. Conn. April 9, 2020).

16          The Court finds that Dogan’s family circumstances do not

17   serve as extraordinary and compelling reasons for modifying her

18   sentence.   Dogan’s children are not without caretakers during

19   her incarceration.    See Mot. at 21.     The Court recognizes that

20   caring for children fulltime, in the midst of a public health
21   crisis, is increasingly challenging.       But it is neither unusual

22   nor insurmountable.    See United States v. Greenhut, 2019 WL

23   6218952 (C.D. Cal. Nov. 21, 2019) (defendant’s desire to care

24   for his 13-year-old child does not constitute extraordinary

25   circumstances).

26               3.    Sentencing Factors
27          In deciding a motion for compassionate release, a court can

28   neither disregard nor undermine the relevant factors set forth
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1    in 18 U.S.C. Section 3553.      18 U.S.C. § 3582(c)(1)(A)(i); see

2    Dillon, 560 U.S. at 822.     Dogan received a 48-month sentence

3    because she implemented two long-term, large-scale fraud schemes

4    totaling over $2.2 million in intended losses.         See Presentence

5    Investigation Report ¶¶ 6, 8, 11, 14, ECF No. 99.          Dogan has

6    only served six months of this below guidelines sentence.

7    Considering the scale of the harm caused, a reduction in her

8    sentence at this point would undermine the original sentence’s

9    deterrent effect and disregard the possibility that she might

10   cause further harm to the public.        Thus, the sentencing factors

11   also support denying Dogan’s request for a reduction in her

12   sentence.

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14                               III.    ORDER

15       For the reasons set forth above, the Court DENIES

16   Defendant’s Motion to Reduce Sentence.

17       IT IS SO ORDERED.

18   Dated: July 21, 2020

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